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                   UNITED STATES DISTRICT COURT FOR
                       THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                               Case No.: 1:21-cr-00128-RC

              v.


WILLIAM ALEXANDER POPE,

                          Defendant .

           MOTION FOR EXTENSION TO FILE EXPERT WITNESSES

        Due to the Court’s compressed pretrial motions schedule, I have not been able to finalize

arrangements with potential expert witnesses. I therefore respectfully ask the Court to grant my

Motion to Continue (ECF No. 237) to allow the many remaining issues to be sorted out, and to

allow me more time to arrange expert testimony, or to at least grant a two week extension of time

to file expert reports.

        Respectfully submitted to the Court,

                                                      By: William Pope

                                                          /s/
                                                      William Pope
                                                      Pro Se Officer of the Court
                                                      Topeka, Kansas




                                         Certificate of Service
     I certify a copy of this was filed electronically for all parties of record on May 13, 2024.
                                                   /s/
                                   William Alexander Pope, Pro Se
